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 419 Aderhold Rd
 Saxonburg, PA 16056

 Nov. 27, 2017

 Hon. Sanket Bulsara, Magistrate Judge EDNY
 Clerk's Office
 United States District Court EDNY
 225 Cadman Plaza
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 Brooklyn, NY 11201                                                                  27 201/
 Attn: Pro Se

                                                                      PRO SE OFFICE
 Re; Sorenson v. Simpson, 15 cv 4614(AMD)(SJB)

 Dear Magistrate Judge Bulsara:

 I am the Pro Se Defendant in the above-captioned case. I write to respectfully request that this
 Court(1)grant me an extension of 15 days from December 8,2017 within which to file for
 Summary Judgement:(2)compel Plaintiff to produce documents responsive to Defendant's Document
 Requests #2,#10,#3,#4. Also, to allow me to see something in electronic formbefore it is used, if it falls
 outside these numbers, but within the document requests. A copy of Defendant's Document Requests
 and Plaintiffs Responses and Objectives are attached to this letter as Exhibits A and B, respectfully. I
 am having unexpected surgery on November 29^'' and this will limit my ability to work.


  Extension of time to move for Summary Judgement



  I am requesting an extension of 15 days until Dec. 23^*' with which to move for Summary Judgement. I
  am representing myself and I am having surgery on November 29**^ that
  will limit my ability to work for a period of time. This is my first such extension request I have conferred
  with Plaintiffs counsel about my request, and she consents to choosing a mediator
  by Dec 5^*^ and then having a mediation date when I am well. She has just emailed me that she is willing
  for a 5 day extension on the Summary Judgement. The start would be a statement of m^erial facts. I
  am having surgery and not sure how I will be that is why I asked for 15
                                                                                                       /^o
                                                                                       /J.




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 Motion to compel Plaintiffs production of documents essential to mv defense


 I made only eleven document requests, and Plaintiff refused to produce any responsive documents.
 We had agreed that they would deposit documents in a specially created Gmail account, but none were
 ever deposited. This was done so that there would be a searchable, portable data base and the meta
 data of the emails could be checked. I did produce documents and to the best of my knowledge and
 memory Ms. Goodman told judge Tiscione that she had enough documents. I did not answer each
 request in a Word Doc., which I will do forthwith, I responded iin various emails.


 Please compare Exh. A and Exh. B. For example. Defendant's Document Request# 2,asks for 'All
 written correspondence, including electronic correspondence, between Plaintiff and Defendant
 regarding any matters set forth in the Amended Complaint and in particular, any correspondence
 concerning the cost of litigation, the fee to be paid at the completion of the litigation, litigation
 expenses,task allocation, and litigation strategy." See Exhibit A. Besides referring to the two retainer
 agreements between the parties. Plaintiff refused to produce any documents responsive to Request #2,
 stating as follows: See reponce to request #1:"This request is not proportional to the needs of the case
 considering the marginal importance of the material to the claims and defenses in this case, and (2)the
 substantial cost in time and money to produce the thousands of e-mails created over the 12 year span
 covered by the Amended Complaint. This action involves a claim for attorney's fees over a nine year
 period during which plaintiff represented defendant in Federal Court. This representation is not
 disputed and indeed is evidenced by the public docket of the Federal District and Appellate Courts in
 Washington, D.C. In fact, the only issue now in this case is the statute of limitations. Defendant does
 not dispute that she did not fire Mr. Sorenson until six years before the Complaint was served. Thus, the
 only relevant facts are whether plaintiff served as her representative until he was fired. Official public
 records of the FCSC will confirm that he did.""See the terms of the pertinent retainers and the fee to be
  paid to dispel any suggestion that plaintiff was acting pro se, and without expectations of a fee for legal
 services and expenses." See Exh. B Although I have attempted, in good faith, to confer with Plaintiffs
 counsel to obtain the Discovery that I need for my defense, those efforts have been futile. There is no
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 need for this matter to waste the parties' and the Court's time and resources by going to trial. But, I
 cannot mount an adequate defense, nor may I present the best Summary Judgement, without Plaintiffs
 cooperation in producing highly relevant documents uniquely within his possession. Lawyers are
 required to keep accurate client records and this case is all about the records. That is why Statue of
 Limitations exist. Records are lost. Memories fade, people who are involved pass on         How can the
 financial records of a case that is about fees, not be material to the case



 For the foregoing reasons, I respectfully request that the Court(1)grant me an extension of time until
 Dec. 22, 2017 to move for Summary Judgement: and (2)compel Plaintiff to produce documents
 responsive to my requests




 Sandra Simpson Pro Se Defendant

 419 Adeerhold Rd, Saxonburg, PA 16056



 CC: Lorna Goodman,551 Madison Ave. 7^*^ floor
 New York, NY 10022



 Copy mailed to Lorna Goodman




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